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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

       v.
                                                                Case No. 19-cr-10080
DAVID SIDOO, et al.,

               Defendants.



     DEFENDANTS MOSSIMO GIANNULLI, LORI LOUGHLIN, WILLIAM
         MCGLASHAN, JR., AND JOHN WILSON’S ASSENTED-TO
MOTION TO EXTEND BRIEFING SCHEDULE FOR THEIR MOTIONS TO COMPEL

       Pursuant to Federal Rule of Criminal Procedure 45(b)(1)(A), Defendants Mossimo

Giannulli, Lori Loughlin, William McGlashan, Jr., and John Wilson respectfully move to extend—

by three days—the due date for their reply briefs in support of their motions to compel the

production of material and exculpatory evidence (ECF Nos. 693, 696, and 699). Defendants seek

this extension to allow them sufficient time to review the Government’s forthcoming supplemental

disclosures and assess whether those disclosures have any bearing on Defendants’ motions to

compel or their forthcoming reply briefs.

       Defendants’ motions to compel seek, among other things, an order requiring the

Government to disclose all FBI Form 302 Reports of witness statements and underlying interview

notes concerning William “Rick” Singer’s representations to his clients regarding payments to the

University of Southern California, as well as all information about USC’s knowledge of Singer’s

operation. In its January 14 consolidated response to Defendants’ motions to compel, the

Government asserted that it “anticipate[d] making supplemental disclosures to the defendants in

the next few days after this brief is filed concerning the most recent [FBI] interview reports.” ECF

No. 736 at 2 n.2. The Government also said that it “has disclosed or will soon disclose any
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potentially exculpatory statements reflecting Singer’s memory of what he told the defendants

about where their money should be sent and how it would be used.” Id. at 4 (emphasis added in

part). But the Government has not yet made any such supplemental disclosures. On January 26,

2020, in response to a request for clarification by defense counsel, the Government stated that it

plans to make its supplemental disclosure late on Monday, January 27, 2020.

       Defendants’ reply briefs are currently due on Tuesday, January 28, 2020. ECF No. 705.

Because the Government’s forthcoming disclosures may bear on the issues raised in Defendants’

reply briefs, Defendants respectfully request a three-day extension to allow them sufficient time

to evaluate the Government’s supplemental disclosures. Counsel for Defendants Giannulli and

Loughlin has conferred with Assistant U.S. Attorney Eric Rosen, who consents to Defendants’

requested extension.

       The current briefing schedule also provides that any sur-replies by the Government are due

February 4, 2020. Id. Given Defendants’ request for a three-day extension for their replies, they

have no objection to adjusting the Government’s deadline for its sur-replies by three days as well.

Thus, Defendants propose the following schedule:

           •   Defendants Giannulli, Loughlin, McGlashan, and Wilson’s reply briefs in support

               of their motions to compel (ECF Nos. 693, 696, and 699) to be due Friday,

               January 31, 2020; and,

           •   Any Government sur-replies responding to the replies of Defendants Giannulli,

               Loughlin, McGlashan, and Wilson to be due Friday, February 7, 2020.




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Dated: January 27, 2020                   Respectfully submitted,

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                                                   Counsel for Defendant John Wilson
                        LOCAL RULE 7.1(a)(2) CERTIFICATION
       Undersigned counsel certifies that, on January 27, 2020, he conferred with counsel for the

Government about the relief requested in this Motion. The Government consents to Defendants’

request.

                                                            /s/ William J. Trach
                                                            William J. Trach


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                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed with the Clerk of the United States District

Court for the District of Massachusetts via the CM/ECF system, which will notify all participants

in the case who are registered CM/ECF users; these are identified on the Notice of Electronic

Filing. Paper copies will be sent on January 27, 2020, to those identified as non-registered

participants.


                                                            /s/ William J. Trach
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